        Case 3:22-cr-00205-FAB Document 112 Filed 07/08/22 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO



UNITED STATES OF AMERICA,                  Criminal No. 3:22-cr-205 (FAB)
         Plaintiff,
    vs.
PABLO COLON-ROLON
         Defendant.

        INFORMATIVE MOTION RE: STATUS CONFERENCE OF



TO THE HONORABLE COURT:



The defendant Pablo Colon-Rolon appears as defendant number one in the above
indictment. He was arraigned before USMJ Bruce McGiverin on July 8, 2022, at
10:00 a.m. A status conference in the case has been advanced to July 11, 2022 at
9:00 am in OSJ Courtroom 6 – 1st floor. The undersigned counsel for Pablo Colon-
Rolon has a calendar conflict on July 11, 2022 in a case entitled US v. Michel Lee
Case No. 3:22 – mj – 00635(RAR,) Attorney Diego H. Alcala-Laboy has agreed
to stand-it for the undersigned at this July 11, 2022 status conference.




                                          1
        Case 3:22-cr-00205-FAB Document 112 Filed 07/08/22 Page 2 of 2




Wherefore, the undersigned respectfully requests that the Court take note of this
substitution.

                                 RESPECTFULLY SUBMITTED,

                                 THE DEFENDANT,
                                 PABLO COLON-ROLON




                                 By: s/ Michael R. Hasse
                                 MICHAEL R. HASSE (PR#215307)
                                 1302 Ave. Ashford, #1503
                                 San Juan, PR 00907
                                 Tel. (860)444-2711
                                 Fax (734)448-2891
                                 Email: hasselaw@yahoo.com



                               CERTIFICATION

                   I hereby certify that on July 8, 2022, I electronically filed the

                   foregoing and the accompanying memorandum with the Clerk

                   of the Court using the CM/ECF system which will send

                   notification of such filing to all counsel of record.


                                               By: s/ Michael R. Hasse
                                               MICHAEL R. HASSE (PR#215307)




                                         2
